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May 12, 2020



By email only

Brian M. Roberts
Chief Administrative Officer & General Counsel
Grand Canyon University
3300 W. Camelback Road
Phoenix, AZ 85017

Dear Mr. Roberts:

This letter provides the reports BKD, LLP prepared pursuant to its engagements with Grand Canyon
University (“GCU”) to respond to those issues raised by the U.S. Department of Education.
Enclosed with this letter are the final reports BKD, LLP prepared related to GCU’s July 1, 2018
transaction. Consistent with the January 17, 2020 letter Michael Frola sent to GCU, which details
the purposes of BKD’s engagement as an independent expert, I am enclosing our transfer pricing
team’s review and evaluation of the updated transfer pricing study Deloitte Tax LLP, dated April
29, 2020, and our valuation reports appraising GCU’s fair market value at the time of the July
2018 transaction and again in January 2020.

The enclosed reports fully detail our findings. In brief, without fully restating those findings here,
we concluded, after our review and independent analysis of the Amended and Restated MSA and
Deloitte’s April 29, 2020 Transfer Pricing Study, that the transfer pricing arrangement produces a
fair and equitable transfer price for the respective services provided to GCU and contained in the
MSA.

We also evaluated the fair market value of the assets (invested capital) GCU acquired from Grand
Canyon Education Inc. (“GCE”) as of the transaction date, July 1, 2018, and as of January 7, 2020.
Based upon that we concluded that, on both dates, the fair market value of the purchased assets
($1,100,000,000 to $1,400,000,000) exceeded the purchase price paid of $877,459,000 by 25.4%
to 59.6%, respectively. GCU clearly underpaid for the assets acquired.

The enclosed materials comprise BKD’s completed reports that are responsive to those areas
detailed in Mr. Frola’s letter. If you have any additional questions or concerns, please reach out
to us.



Sincerely,
Todd Burchett




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             GRAND CANYON UNIVERSITY

          Review of Transfer Pricing Analysis Prepared
                By a Third Party with Respect to
Provision of Education Services by Grand Canyon Education, Inc.
              on Behalf of Grand Canyon University
        as of December 31, 2018 and December 31, 2019




                         Prepared by


                         May 12, 2020




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May 12, 2020


Brian M. Roberts
Chief Administrative Officer & General Counsel
Grand Canyon University
3300 W. Camelback Road
Phoenix, AZ 85017


Dear Mr. Roberts:

You have requested that we review and evaluate a certain transfer pricing study (the “Transfer
Pricing Study”) prepared by Deloitte Tax LLP (“Deloitte” or the “Preparer”) covering a certain
transaction between Grand Canyon University (“GCU”), a not-for-profit educational institution,
and Grand Canyon Education, Inc. (“GCE”), a for-profit entity, for the tax year ended
December 31, 2019. Specifically, you have requested that we evaluate using our professional
expertise whether or not the Transfer Pricing Study produces a fair and equitable result to GCU,
based on relevant transfer pricing methodologies.

In performing our evaluation, we have examined the following documents (“collectively, the
“Relevant Documents”):

   1. Grand Canyon University Transfer Pricing Planning Report for the Fiscal Years Ended
      December 31, 2018 and December 31, 2019, dated April 29, 2020 (recall, the “Transfer
      Pricing Study”);
   2. Grand Canyon University Amended and Restated Master Services Agreement, dated
      January 7, 2020 (“MSA”);
   3. Responsive email from Preparer, dated March 26, 2020;
   4. Various equity analyst reports regarding 2U prepared by Barrington Research Associates,
      BMO Capital Markets and Robert W. Baird and Co.; and
   5. Certain transactional evidence from potentially comparable service arrangements between
      service providers and higher education institutions.

Based upon our review and independent analysis of Deloitte’s Transfer Pricing Study, we conclude
the Transfer Pricing Study provides a fair and equitable transfer price for the provision of
Educational Support Services by GCE on behalf of GCU. Our assessment is divided into six
sections. Section I sets forth our understanding of the relevant facts underlying the Transfer
Pricing Study. Section II provides the relevant transfer pricing framework. Section III provides
our evaluation of the transfer pricing method selection by the Preparer. Section IV provides our
evaluation of the application of the transfer pricing method selected by the Preparer. Section V
provides BKD’s independent analysis. Section VI provides our summary conclusion. Finally,
Section VII sets forth certain qualifications and limitations regarding the rendering of our
evaluation.



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I.      Facts

        A. Organizational Background

            Grand Canyon University

            Located in Phoenix, Arizona, GCU is a comprehensive, regionally accredited Christian
            university that offers over 220 graduate and undergraduate degree and certification
            programs across nine colleges both on its traditional campus in Phoenix, Arizona and
            online. With approximately 103,000 students enrolled as of December 31, 2019, GCU
            is currently one of the largest universities in the U.S.

            The University offers bachelor’s, master’s and doctoral degree programs in various
            disciplines, including education, science, engineering and technology, nursing and
            healthcare, business, humanities and social sciences, fine arts and production, and
            Theology. GCU’s campus consists of more than 270 acres in Phoenix, Arizona with
            classroom facilities, library, residence halls, a performing arts center, administrative
            buildings, parking structures, and recreational and NCAA athletic facilities. The
            University participates in 21 sports as a Division I member of the NCAA.

            GCU was founded in 1949 as a not for profit corporation. GCU was later sold to GCE
            and, thereafter, operated as a for profit corporation until July 1, 2018.

            Grand Canyon Education

            GCE is a publicly-traded Delaware corporation that provides education services to
            colleges and universities. Prior to July 1, 2018, GCE owned and operated GCU. On
            July 1, 2018, GCU was sold to an independent non-profit entity. GCU is the most
            significant university partner of GCE.1

            GCE and GCU entered into a Master Services Agreement dated July 1, 2018 (“MSA“)
            pursuant to which GCE will provide the following educational related services to GCU
            (“Educational Support Services”):




1
 Another partner of GCE is Orbis Education (“Orbis”), which is a related party of GCE. GCE’s revenues from
Orbis are minimal compared to its revenues from GCU.

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      B. Transfer Pricing Requirement

          Deloitte Transfer Pricing Study

          GCU engaged Deloitte to prepare a transfer pricing study to analyze and document the
          arm’s-length nature of the transaction between the two entities (the “Transfer Pricing
          Study”).

          Specifically, the Transfer Pricing Study analyzes the following transaction:

           The provision of Education Support Services by GCE on behalf of GCU pursuant
            to the MSA

          It is our understanding that the primary objective of the Transfer Pricing Study is to
          ascertain whether GCE is fairly compensated (i.e., is not overcompensated or
          undercompensated) for the transaction identified in the MSA and that the transaction is
          priced to GCU at arm’s-length. We further understand that the Transfer Pricing Study
          was provided to the U.S. Department of Education (the “Department”) in support of
          GCU’s request to be classified as a not-for-profit institution of higher education under
          Title IV of the Higher Education Act (“HEA”). Title IV of the HEA authorizes the
          federal government’s major student financial aid programs. These programs are the
          primary source of direct federal support to students pursuing postsecondary education.

          Role of BKD as an Independent Reviewer

          At the behest of the Department, GCU, has engaged BKD to review the Transfer
          Pricing Study to ensure that it provides a fair and equitable result to GCU.

          In connection with its role as an independent reviewer, BKD has reviewed the
          Preparer’s Transfer Pricing Study and other aforementioned supporting documentation
          in order to determine whether the Transfer Pricing Study comports with the relevant
          transfer pricing regulations (i.e., U.S. §482).

          As part of this engagement, BKD reviewed the relevant transfer pricing methods and
          assessed the reasonableness of Deloitte’s rationale for utilizing the selected transfer
          pricing method (i.e., the Economic Profit Split Method) and their reasons for rejecting
          the other relevant transfer pricing methods. Next, BKD reviewed the reasonableness
          of Deloitte’s application of the Economic Profit Split Method, including overall
          approach and certain key assumptions. Finally, BKD analyzed comparable pricing
          between third party service providers and higher education institutions in order to
          corroborate whether the Transfer Pricing Study provides an arm’s-length result.

          The main objective of our review was to determine whether the Transfer Pricing Study
          prepared by Deloitte supports its conclusion that the compensation paid by GCU to
          GCE for the provision of education support services in the MSA is arm’s-length, i.e., a
          fair and equitable result to GCU.

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II.     Regulatory Framework

        A. U.S. Transfer Pricing Rules

             The U.S. taxation regulatory framework for transfer pricing is guided largely by
             Section 482.

             1. The Arm’s-Length Standard

                 The standard applied in this analysis to examine the transfer prices between GCU
                 and GCE is the arm’s-length standard as set forth in the U.S. Treasury Regulations
                 issued under IRC §482 and the accompanying Treasury Regulations under Treasury
                 Regulation §1.482. Under these regulations, a controlled transaction meets the
                 arm’s-length standard if the results of the transaction are consistent with the results
                 that would have been realized if uncontrolled taxpayers had engaged in comparable
                 transactions under comparable circumstances.2 In order to be “comparable” to a
                 controlled transaction, an uncontrolled transaction need not be identical to the
                 controlled transaction, but must only be sufficiently similar so that it provides a
                 reliable measure of an arm’s-length result.3 To meet the arm’s-length standard, a
                 controlled taxpayer’s results need only be within the range of results determined
                 by the results of two or more comparable uncontrolled transactions.4

             2. Best Method Rule

                 The regulations do not contain a priority among methods and emphasize that the
                 most applicable and comparable method (the best method) should be used. The
                 best method rule states “the arm’s-length result of a controlled transaction must be
                 determined under the method that, under the facts and circumstances, provides the
                 most reliable measure of an arm’s-length result.” An arm’s-length result may not
                 be determined under any method without establishing the inapplicability of another
                 method.5 Factors considered in using the best method are the completeness and
                 accuracy of available data, the degree of comparability between controlled and
                 uncontrolled transactions, and the extent of adjustments necessary to apply the
                 methods.

                 While each method contains specific requirements, it is important to note that each
                 method requires an analysis of the functions performed, risks incurred, and assets
                 utilized by the respective parties. This analysis is necessary because each method
                 involves a reference to a comparable uncontrolled transaction, and such a
                 comparison cannot be made without an analysis of the respective functions
2
  Treasury Regulation §1.482-1(b).
3
  Treasury Regulation §1.482-1(d)(2).
4
  Treasury Regulation §1.482-1(e). Under appropriate circumstances, the arm’s-length range may also reflect the use
of more than one method, or more than one application of the same method. Treasury Regulation §1.482-1(c)(2)(iii).
5
  Treasury Regulation §1.482-1(c)(1).

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                 performed by the related parties, the assets utilized, and the risks borne by the
                 parties.

                 The following sections review the pricing methodologies prescribed for evaluating
                 the arm’s-length nature of services transactions.

             3. Pricing Methods – Performance of Services

                 The arm’s-length nature of such services may be determined by applying one of
                 several methods specified in the regulations. The U.S. services regulations provide
                 individual methods for services transactions. The specified methods may include
                 the following six methods:6

                 a. Services Cost Method

                      The U.S. intercompany services regulations have remained unchanged since
                      1968, until July 2009, when the Treasury and the IRS finalized the service
                      regulations that took into consideration previously issued proposed and
                      temporary services regulations.

                      The services regulations provide a safe harbor under the Services Cost Method
                      (“SCM”). The SCM enables taxpayers to charge intercompany services at cost
                      under two approaches:

                              Specified covered services and
                              Certain low-margin covered services.

                      For specified covered services, the IRS intends to annually issue a list of
                      services in a Revenue Procedure, which may be charged at their total cost (i.e.,
                      without a mark-up). The list includes common back office and administrative
                      activities, such as payroll, human resources, legal, etc., but does not encompass
                      entire functional service areas. The most recent service regulations Revenue
                      Procedure (i.e., Rev. Proc. 2007-13) issued on December 20, 2006, expanded
                      the initial list of covered services contained in the Revenue Procedure, which
                      was issued simultaneously with the temporary services regulations in July 2006.

                      For certain low-margin covered services, if the median of comparables as
                      produced in a comparable search is a net cost plus mark-up of 7.0% or less,
                      taxpayers are also able to charge the services at cost.

                      Services are only eligible to be priced “at cost” if they meet a business judgment
                      test. If these are services that the taxpayer, using its own business judgment,

6
  A taxpayer may select a method that is not specified in the regulations, provided the taxpayer can demonstrate that
the unspecified method provided the most reliable measure of an arm’s-length result. See Treasury Regulation §1.482-
9(h).

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                        do not contribute significantly to the key competitive advantages, core
                        capabilities, or fundamental risks of success or failure in one or more of the
                        corporate group’s businesses they are eligible to be charged out at cost under
                        the SCM. Specific services listed under Treasury Regulation §1.482-9(b)(4)
                        that are not eligible to be charged out at cost include:

                               Manufacturing;
                               Production;
                               Extraction, exploration or processing of natural resources;
                               Construction;
                               Reselling, distribution, acting as a sales or purchasing agent or acting
                                under a commission or other similar arrangement;
                               Research, development or experimentation;
                               Engineering or scientific;
                               Financing transactions, including guarantees; and
                               Insurance or reinsurance.

                        The services regulations also contain a provision that allows for taxpayers to
                        enter into shared services arrangements (“SSAs”). An SSA is allowed if the
                        services benefit two or more members of a controlled group, include all
                        members of a controlled group that are reasonably expected to benefit from one
                        or more of the covered services specified in the arrangement, and are structured
                        so that each covered service confers a benefit on at least one participant. Notice
                        2007-5 enables taxpayers to enter into an SSA for services which are not
                        eligible for the SCM.

                   b. Comparable Uncontrolled Services Price Method7

                        Under the Comparable Uncontrolled Services Price (“CUSP”) method, the
                        arm’s-length price for the provision of services between related parties is
                        determined by the price paid for the same or similar services in a transaction
                        between unrelated parties.

                        The standard of comparability is very high under the CUSP method and a
                        transaction is only considered comparable if the services and circumstances of
                        the controlled transaction are substantially the same as those of the uncontrolled
                        transaction. Thus, strict comparability is the standard utilized in the application
                        of the CUSP method. While minor differences can be accounted for if such
                        differences have a reasonably ascertainable effect on the price, material
                        differences would preclude the application of the CUSP method.




7
    Treasury Regulation §1.482-9(c).

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                 c. Gross Services Margin Method8

                      The Gross Services Margin (“GSM”) method tests the arm’s-length character
                      of a transfer price in a controlled transaction by reference to the gross profit
                      margin (i.e., gross profit divided by net sales) realized in a comparable
                      uncontrolled transaction that involves similar services. The GSM measures the
                      value of functions performed and ordinarily may be used when a controlled
                      taxpayer performs agency services or intermediary functions on behalf of a
                      member of the controlled group that provides services to a third part (i.e.,
                      commission agent).

                 d. Cost of Services Plus Method9

                      The Cost of Services Plus (“CSP”) method tests the arm’s-length character of a
                      transfer price in a controlled transaction by reference to the gross services profit
                      markup (i.e., gross profit divided by costs) realized in a comparable
                      uncontrolled transaction. The CSP measures the value of functions performed
                      and is ordinarily appropriate when the service provider in the controlled
                      services transaction provides the same or similar services to both controlled and
                      uncontrolled parties. In general, the CSP measures an arm’s-length price by
                      adding the appropriate gross services profit to the controlled taxpayer's
                      comparable transactional costs. Comparable transactional costs may consist of
                      direct costs of providing the services in addition to certain other costs of
                      rendering the services. However, comparable transactional costs might not
                      equal total services costs.

                      Comparability under this method is particularly dependent on similarity of
                      services or functions performed, risks borne, intangibles (if any) used in
                      providing the services or functions, and contractual terms, or adjustments to
                      account for the effects of any such differences. For purposes of evaluating
                      functional comparability, it may be necessary to consider the results under this
                      method expressed as a markup on total services costs of the controlled taxpayer
                      and comparable uncontrolled parties, because differences in functions
                      performed may be reflected in differences in service costs other than those
                      included in comparable transactional costs.

                 e. Profit Split Method10

                      The Profit Split Method (“PSM”) evaluates whether the allocation of the
                      combined profit or loss attributable to one or more controlled transactions is
                      arm’s-length by reference to the relative value of each controlled taxpayer’s
                      contribution to that combined profit or loss. The PSM is also typically
                      employed when both parties to the transaction own valuable IP.
8
  Treasury Regulation §1.482-9(d).
9
  Treasury Regulation §1.482-9 (e).
10
   Treasury Regulation §1.482-9 (g).

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                  f. Comparable Profits Method11

                      The CPM tests the arm’s-length character of transfer prices in a controlled
                      transaction by comparing the operating profits earned by one of the parties
                      engaged in controlled transactions to the operating profits earned by
                      uncontrolled parties engaged in similar business activities. The CPM measures
                      the total return on business activities of the taxpayer and, therefore,
                      “comparability” under CPM is primarily dependent upon the similarity of
                      capital invested and risks assumed by the controlled and uncontrolled parties.
                      Under the CPM, comparables need to be only broadly similar and significant
                      service diversity and some functional diversity between the controlled and
                      uncontrolled parties is acceptable.


III.     Evaluation of Transfer Pricing Method Selection

         A. Overview

             Section 482 requires that a taxpayer establish and/or review its transfer prices by
             applying the method that provides the most reliable measure of an arm’s-length result
             given its specific facts and circumstances. When evaluating the arm’s-length nature of
             the provision of services, this standard requires the taxpayer to consider the potential
             applicability of, and the availability of, complete and reliable data under each of the
             specified methods. For U.S. purposes, two of the principal documents required include:

                     A description of the method selected and the reason why it was selected12 and
                     A description of the alternative methods that were considered and an
                      explanation of why they were not selected.13

             Consistent with Section 482, the Preparer discussed each of the available transfer
             pricing methods for the subject services transaction and provided their rationale for
             accepting the selected method and rejecting the methods that were not selected.

             The following sections detail Deloitte’s rationale for selecting the “best” or most
             appropriate method, as well as our conclusions regarding those determinations based
             upon our interpretation and analysis of Section 482. It must be noted that the Preparer
             also considered the specified transfer pricing methods outlined in the Organisation for
             Economic Co-operation and Development’s Transfer Pricing Guidelines for
             Multinational Enterprises and Tax Administrations (“OECD Guidelines”) in its
             analysis.14

11
   Treasury Regulation §1.482-9 (f).
12
   Treas. Reg. §1.6662-6(d)(2)(iii)(B)(4).
13
   Treas. Reg. §1.6662-6(d)(2)(iii)(B)(5).
14
   In preparing the Transfer Pricing Study, Deloitte applied the Profit Split Method as outlined in the OECD
Guidelines.

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        B. Transfer Pricing Method Selection

             1. Services Cost Method (SCM)15

                 In rejecting the SCM, Deloitte indicated the following: “The Education Support
                 Services provided by GCE to GCU contribute significantly to the key competitive
                 advantages of the Company. Under Treas. Reg. Section 1.482-9(b)(4)(vi)
                 (research, development or experimentation type of service transactions) and Treas.
                 Reg. Section 1.482-9(b)(4)(vii) (engineering or scientific type of service
                 transactions) are ineligible for the SCM method and therefore, the SCM cannot be
                 used as the best method/most reliable method.”

                 Under the SCM, costs of the services are allocated from the renderer to the recipient
                 of the services at cost (i.e., without a mark-up). Based upon our review of the
                 Education Support Service descriptions, it would appear that a majority of the
                 services are ineligible for SCM treatment as they “contribute significantly to the
                 key competitive advantages, core capabilities, or fundamental risks of success or
                 failure” of GCU. While the Back Office Support component of the Education
                 Support Services could potentially be eligible for SCM treatment, it is not a
                 requirement that the taxpayer elect the SCM method (i.e., it is a voluntary election).
                 Accordingly, we believe that the Preparer’s decision to reject the SCM method for
                 the provision of Education Support Services is reasonable.

             2. Comparable Uncontrolled Services Price Method (CUSP)

                 In rejecting the CUSP method, Deloitte indicated the following, “No internal
                 CUSP/CUP16 transactions were identified for the provision of Education Support
                 Services by GCE (i) at the same market level, (ii) in comparable geographic
                 locations, and (iii) in comparable volumes. In addition, GCU does not receive
                 similar services from unrelated service providers. Therefore, internal CUSP/CUP
                 method is not selected as the best method/most appropriate method since
                 comparable data for application of internal CUSP/CUP is not available.

                 In addition, due to the specificity of the transaction and the industry, no external
                 CUSP/CUP method analyzing the transactions between two unrelated parties, is
                 available. As such, we reasonably concluded that the external CUSP/CUP method
                 is not the best method.”

                 Given the lack of comparable internal (i.e., transactions between GCE or GCU and
                 third parties) and exact external comparable transactions, we believe that the
                 Preparer’s decision to reject the CUSP method as the primary transfer pricing


15
  The OECD Guidelines do not contain the SCM as a specified method.
16
  Under the OECD Guidelines, which govern pricing of intercompany transactions in several tax jurisdictions outside
of the U.S., the Comparable Uncontrolled Price (“CUP”) method is analogous to the CUSP method under §482. In
the Transfer Pricing Study, Deloitte referred to this method as the “CUSP/CUP” method.

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                methodology by which to price the provision of Education Support Services is
                reasonable.

            3. Gross Services Margin Method (GSM)

                In rejecting the GSM method, Deloitte indicated the following, “Neither GCU or
                GCE provide comparable services with third parties, and we are unaware of
                instances where two third parties jointly provide comparable services in a
                comparable market. Therefore, we reasonably concluded that the GSMM/RPM17
                method is not the best method/most reliable method to determine the arm’s length
                nature of the Covered Transaction.”

                The GSM method is ordinarily applied in cases involving a controlled taxpayer
                performing agency services or intermediary functions on behalf of a member of the
                controlled group related to services that are being rendered to a third party. The
                use of the GSM method is not appropriate as GCE does not provide these services
                to other third parties. Therefore, we believe that the Preparer’s decision to reject
                the GSM method for the provision of Education Support Services is reasonable.

            4. Cost of Services Plus Method (CSP)

                In rejecting the CSP method, Deloitte indicated the following, “No internal
                CSP/Cost Plus18 transactions were identified for Covered Transaction. As stated
                above, GCE does not provide similar services to any other third-party entities. An
                external CSP/Cost Plus approach is also not available due to lack of sufficient
                information on similar service transactions involving third parties in the given
                industry.

                In addition, as mentioned in above, the reliability and accuracy of the CSPM/Cost
                Plus Method is also vulnerable to differences in accounting methods and
                classifications among the comparable companies. While the accounting practices
                of GCE are known, the same level of understanding of the accounting practices of
                the comparable companies is not available. Experience has shown that companies
                do differ in their accounting treatment of different kinds of costs, with some
                companies treating some costs as part of “Cost of Services” and other companies
                treating the same kinds of costs as “Selling, General, and Administrative Expense.”
                Occasionally these differences can be material. Therefore, we reasonably
                concluded that the CSPM/Cost Plus Method is not considered the best method/most
                appropriate method to determine the arm’s length nature of the Covered
                Transaction.”



17
   Under the OECD Guidelines, the Resale Price method (“RPM”) method is analogous to the GSM method under
§482. In the Transfer Pricing Study, Deloitte referred to this method as the “GSMM/RPM” method.
18
   Under the OECD Guidelines, the Cost Plus (“CP”) method is analogous to the CSP method under §482. In the
Transfer Pricing Study, Deloitte referred to this method as the “CSPM/Cost Plus” method.

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                 Given the lack of data from comparable internal (i.e., transactions between GCE or
                 GCU and third parties) and external transactions, we believe that the Preparer’s
                 decision to reject the CSP method for the provision of Education Support Services
                 is reasonable. Further, the inability to reliably compare financial results between
                 comparable companies and the subject transaction, is often determined to be a
                 disqualifying reason for applying the CSP, in our experience.19

             5. Comparable Profits Method (CPM)

                 In rejecting the CPM, Deloitte indicated the following, “In the case of the services,
                 the CPM/TNMM20 would benchmark an appropriate return for service provider
                 based on its functions performed and the profits earned by companies comparable
                 to the tested party (i.e., GCE).

                 The nature of the activities performed by GCU and GCE are highly integrated.
                 Each entity contributes to the development of intangibles. Due to the degree of
                 integration in the business and factual delineation of the transactions,
                 benchmarking certain transactions under the CPM/TNMM would reduce the
                 reliability of the analysis and potentially undermine certain value creation. Based
                 on the above, we reasonably concluded that the CPM/TNMM is not the best
                 method/most appropriate method to determine the arm’s length nature of the
                 Covered Transaction.”

                  The CPM is often used to analyze the arm’s-length returns that should be earned
                 by routine service providers, i.e., entities that do not hold valuable intangible assets.
                 In this case, GCE’s Educational Support Services are critical to the success of GCU
                 and lead directly to the creation of intangible assets in the form of marketing and
                 technology intellectual property, i.e., both GCU and GCE own valuable intangible
                 assets. Given the highly integrated nature of GCE and GCU and the non-routine
                 nature of the services being provided by GCE, we do not believe that the CPM
                 would provide a reliable indication of arm’s-length pricing in this instance.
                 Therefore, we believe that the Preparer’s decision to reject the CPM method in this
                 case was reasonable.

             6. Profit Split Method

                 Comparable Profit Split Method

                 In rejecting the comparable PSM, Deloitte indicated the following, “Per U.S.
                 Transfer Pricing Regulations, an application of the comparable profit split method
                 under the U.S. Transfer Pricing Regulations requires identifying the combined
                 operating profit of uncontrolled companies, the transactions and activities of which

19
   The CSP method is sensitive to differences in classification of COGS and SG&A expenses, as it is based upon the
ratio of gross profit/cost of services.
20
   Under the OECD Guidelines, the Transactional Net Margin Method (“TNMM”) is analogous to the CPM under
§482. In the Transfer Pricing Study, Deloitte referred to this method as the “CPM/TNMM” method.

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                  are comparable to GCU and GCE in the context of the Covered Transaction. We
                  did not identify publicly available information on uncontrolled companies, the
                  transactions and activities of which are sufficiently comparable to the Covered
                  Transaction. Further, it is highly unlikely that an arrangement sufficiently
                  comparable to the Covered Transaction can be found. For the above reasons, we
                  reasonably concluded that the comparable profit split method is not considered the
                  best method/most appropriate method to determine the arm’s length nature of the
                  Covered Transaction.”

                  Residual Profit Split Method

                  In rejecting the RPSM, Deloitte indicated the following, “Application of the
                  RPSM/RPS involves two steps. First, operating income is allocated to each party
                  in the controlled transactions to provide a market return for its routine
                  contributions to the relevant business activity. Second, any residual profit is divided
                  among the controlled taxpayers based on the relative value of their contributions
                  of any nonroutine contributions to the relevant business activity. Operations in
                  Grand Canyon’s business are highly integrated and both GCU and GCE both
                  perform non-routine functions, which makes difficult to identify sufficiently
                  comparable independent companies or transactions to reliably allocate market
                  returns related to the performance of routine functions to estimate the residual
                  profit. Therefore, we reasonably concluded that the RPSM/RPS is not the best
                  method/most appropriate transfer pricing method to determine the arm’s length
                  nature of the Covered Transaction.”

                  The Preparer rejected both forms of the PSM, the comparable PSM and the RPSM.
                  Given the lack of comparable profit split transaction information, Deloitte’s
                  rejection of the comparable PSM is appropriate.

             7. Unspecified Methods

                  Deloitte selected an unspecified method, the Economic Profit Split (“EPS”) to
                  analyze the subject transaction between GCE and GCU. The use of so-called
                  “unspecified methods” are permissible under §482, provided that none of the
                  aforementioned specified methods would provide a more reliable indication of
                  arm’s-length pricing.21

                  In determining the applicability of the EPS method as the most reliable method,
                  Deloitte provided the following rationale, “….The nature of GCU and GCE
                  business is vertically integrated, which can be analyzed under contribution analysis
                  per OECD Guidelines. For purposes of applying the transactional profit split under
                  the OECD Guidelines, we are able to (i) factually establish the unique and valuable
                  contributions that GCU and GCE contribute in the context of the Covered

21
  While the Economic Profit Split Method, also referred to as the Transactional Profit Split Method, is an
unspecified method under §482, it is a specified method under the OECD Guidelines.

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                  Transaction, (ii) perform the six-step process described at paragraph 1.60 of
                  Chapter I of the OECD Guidelines (accurate delineation of the transaction),
                  including performance of the “control” test for each identifiable economically
                  significant risk, (iii) reliably determine the contribution split of the participating
                  entities, and (iv) obtain actual, auditable internal Company data. Hence, we
                  reasonably selected the contribution analysis under the OECD Guidelines for
                  testing the Covered Transaction. Specifically, we applied the Economic Profit Split
                  (“EPS”) Method as the most appropriate method to measure the arm’s length
                  nature of the Covered Transaction.”

                  Given that both GCU and GCE make significant contributions to the creation of
                  intangible assets and the lack of comparable transactions/comparable companies, a
                  profit split-based method appears to be reasonable in this instance. We would note
                  that, while characterized as an unspecified method under the U.S. transfer pricing
                  regulations, the EPS method is widely accepted among OECD member countries.22
                  Accordingly, we believe that the transfer pricing method selected by the Preparer
                  for the subject covered transaction is reasonable.


IV.      Application of the Selected Transfer Pricing Method

         Discussion of Deloitte Approach

         As noted above, the Preparer selected the EPS method as the most appropriate method by
         which to determine the allocation of profits between GCU and GCE for the subject
         transaction. The Preparer’s application of the EPS method involved the following steps:

          1.      Identification of economic risks23 associated with the period under analysis from
                  accounting information;
          2.      Calculate consolidated contribution margin;
          3.      Estimate the share of total fixed costs for each entity;
          4.      Split the contribution margin based on the fixed cost share of each entity; and
          5.      Recreate accounting income statement and determine the revenue split between
                  GCU and GCE

         The Preparer utilized fixed costs as a proxy for the share of systematic risk faced by GCU
         and GCE, and these risk shares were used to determine each entity’s proportion of the
         contribution margin. Fixed costs were defined as those costs that do not co-vary (i.e.,
         fluctuate) with the operations of the enterprise. As noted in the Transfer Pricing Study,
         “The economic theory underlying the relationship between fixed costs and risks borne by

22
  Referred to as the “Transactional Profit Split Method” under the OECD Guidelines.
23
  Please refer to OECD Para 1.56 -1.60 on functional analysis, accurate delineation of the transaction and six step
control process starting from identifying economically significant risks.

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           an enterprise is predicated on the well-recognized principle that higher fixed costs imply
           higher risks since the presence of such costs exacerbates the volatility of net cash flows (or
           profits) within the enterprise when there are external shocks faced by the enterprise.
           Hence, there is a positive relationship between assumption of fixed costs and business
           risks.”

           The fixed costs were bifurcated into operating fixed costs, which benefit only the current
           year, and those that create off-balance sheet assets (“OBSA”) in the form of self-created
           intangible assets. Based on the Transfer Pricing Study, Deloitte conducted interviews with
           GCU and GCE operational leaders to determine the share of costs by major functional
           category that result in future revenues (i.e., OBSAs). The OBSAs were then segmented by
           asset type into three categories: Marketing, Technology Development, and Executive
           Strategy.

           Based on the Transfer Pricing Study, Deloitte conducted interviews with GCU
           management in order to obtain additional details regarding the potential OBSAs. This
           information included lead time (i.e., time from incurring initial expense to revenue
           generation); useful life, and decay shape. Based on this data, the Preparer estimated the
           timing and magnitude of revenues and costs associated with the three asset types. The
           OBSA generating costs were then capitalized using a discount rate, which was based on
           GCU’s cost of capital.24

           Deloitte calculated and applied a notional carrying cost for both on- and off-balance sheet
           assets based on GCU’s short-term borrowing rate25 to reflect the opportunity cost of
           carrying the assets. The opportunity cost was calculated by multiplying the notional rate
           by the asset carrying values.

           The fixed cost (economic fixed costs plus carrying cost of assets) split was determined
           between GCU and GCE. These percentages were then applied to the consolidated
           contribution margin (revenues minus variable costs) to derive the estimated contribution
           margin share for each entity. The Preparer then used the resulting profit split calculations
           to recreate income statements for GCU and GCE, including adjustments for asset carrying
           costs.

           Finally, the Preparer utilized ranges of cost of capital and notional carrying costs to develop
           an arm’s-length range for the share of revenues to be earned by GCE for the subject
           transaction.

           Based on its analysis, Deloitte determined an arm’s-length range for the share of revenue
           as a percentage of total net revenue of                  , or



24
     Per Deloitte representation.
25
     Ibid.

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      GCE’s revenues for TY 2018,                    , and TY 2019,                     , are
      within the above arm’s-length ranges from the Transfer Pricing Study and, accordingly,
      would be deemed to have been conducted at arm’s-length.

      BKD Observations

      As stated earlier, the Economic PSM approach selected by Deloitte is supported by the
      OECD Guidelines, which provide a transfer pricing framework for many tax jurisdictions
      around the world. According to the OECD Guidelines, the main strength of the
      transactional profit split method is that it can offer a solution for highly integrated
      operations for which a one-sided method would not be appropriate, such is the case here.
      As noted in the OECD Guidelines, “A transactional profit split method may also be found
      to be the most appropriate method in cases where both parties to a transaction make unique
      and valuable contributions (e.g., contribute unique intangibles) to the transaction, because
      in such a case independent parties might wish to share the profits of the transaction in
      proportion to their respective contributions and a two-sided method might be more
      appropriate in these circumstances than a one-sided method. In addition, in the presence
      of unique and valuable contributions, reliable comparables information might be
      insufficient to apply another method.”

      Deloitte analyzed fixed expenses to split the contribution margin in the controlled
      transactions between the participants proportionally to their relative assumption of
      systematic risk. The fixed expenses analyzed by Deloitte included both direct expenses
      associated with the activities of the enterprise, but also indirect expenses such as facilities-
      related and other overhead expenses which are necessary to perform the activities. As
      noted above, fixed expenses are considered to be a reasonable proxy for systematic risk;
      accordingly, the use of fixed expenses in this case to split the residual profits is acceptable
      and in accordance with the OECD Guidelines.

      According to the Transfer Pricing Study, Deloitte relied upon interviews with relevant
      GCU personnel in order to determine the key assumptions used in its analysis. While we
      have not audited this data or the underlying calculations, Deloitte’s reliance on this
      information appears reasonable.
      Based on our review of the Preparer’s analysis, we believe that it provides a reasonable
      indication of arm’s-length pricing for the subject transaction.


V.    BKD Independent Analysis

      As a means of further evaluating the result of the Transfer Pricing Study, BKD
      independently reviewed the prices paid in third party agreements between service providers

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      and higher educational institutions. While we are unable to thoroughly evaluate all of the
      comparability factors between the third-party agreements and the subject transaction and
      are, therefore, unable to determine if they meet the strict definition of comparability
      requirements under the CUSP method (so-called “exact comparables”), we believe that the
      prices paid in these transactions can be used to determine the reasonableness of the
      Preparer’s conclusion (so-called “inexact comparables”) (i.e., a corroborative analysis).

      We reviewed 24 agreements in which a service provider provided certain educational and
      back office support services to unrelated higher education institutions. Of the 24 arm’s-
      length agreements, ten agreements involved the service provider being remunerated based
      on a percentage of the education institution’s total revenues, which is similar to the
      agreement between GCU and GCE. Based on these ten agreements, we calculated a full
      range of 12.5% to 80.0% and an interquartile range of 45.9% to 62.4%, with a median of
      50.0%. We note that the Preparer’s concluded TY 2018 range of revenue split in the
      Transfer Pricing Study of            to         falls within the interquartile range of the ten
      agreements. Further, we note that the Preparer’s concluded TY 2019 range of revenue split
      to the renderer of the services in the Transfer Pricing Study of          to         also falls
      within the interquartile range of the agreements. Accordingly, the Preparer’s concluded
      results for TY 2018 and TY 2019 in the Transfer Pricing Study do not appear unreasonable.


VI.   Conclusion

      Based upon our review of the Transfer Pricing Study and our corroborative analysis, it is
      our conclusion that the Transfer Pricing Study provides a fair and equitable transfer price
      for the provision of Educational Support Services by GCE on behalf of GCU.


VII. Qualifications and Limitations

      This conclusion is based solely upon:

       1. the accuracy and completeness of the facts and assumptions set forth herein. We
          assumed that the financial statements and other information provided by GCU to
          Deloitte was materially accurate without any independent investigation or verification.
          We also relied upon the key assumptions Deloitte made that were based upon the
          information provided by or obtained from interviews of GCU ‘s management. Our
          factual investigation and verification of those key assumptions was limited to
          determining the information used to develop those assumptions and obtaining an
          understanding of how it impacted Deloitte’s key assumptions. GCU understands that
          any inaccuracy or incompleteness in the information we relied upon without
          investigation or verification could adversely affect the conclusions expressed herein.
          Finally, we expressly disclaim any obligation to monitor the existing facts or any
          changes to the facts after executing this letter;


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      2. we have not re-performed all calculations within the Transfer Pricing Study. As to
         those calculations that we have not re-performed, we have relied upon those
         calculations made by Deloitte without further verification of accuracy. However, we
         have no reason to believe that those calculations are not accurate and reliance upon
         those assumptions is reasonable based upon our experience. Any inaccuracy could
         alter the conclusions expressed herein;

      3. the law, regulations, cases, rulings, and other tax authority in effect as of the date of
         this letter. If there are significant changes in or to the foregoing tax authorities (for
         which BKD shall have no responsibility to advise you), such changes may result in our
         conclusion being rendered invalid or necessitate (upon your request) a reconsideration
         of the conclusion;

      4. your understanding that this letter is not binding on any authorities, such the
         Department, or the courts and should not be considered a representation, warranty, or
         guarantee that the above authorities or the courts will concur with our conclusion;

      5. your understanding that this letter is solely for your benefit, is limited to the described
         transaction, and may not be relied upon by any other person or entity; and

      6. your correct interpretation and implementation of the conclusion of this document.




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